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   1 EDWARD HELDMAN III
     10614 West Crosby
   2 Sun Ci~y, Arizonna 85351                      1u~~ ~~~ E 1 p~~ 9~ 23
      201)679-7428
       ~
       heIdman.ProPer@proton.me                    ~:          _ ; ;;:i cou~~


   5
                         .
       Defendant Appearing in Pro Pcr
                                                    ~v_. _ 1`~M_I~~_ _ _ _ __
   6
   7

                             UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  l0

  11   B E Y O N D          BLOND                Case No.2:20-cv-05581-DSF-GJSx
  12   PRODUCTIONS,LLC,a California
       Limited Liability Company,                   Honorable Dale S. Fischer
  13                               Plaintiff,    APPLICATION FOR ORDER             ~
  1~                                             CONTINUING MOTIONS FOR            -~
       v.                                        SANCTIONS AND RELATED             .n
                                                 MOTION TO COMPEL;
  1~   EDWARD HELDMAN III an                     DECLARATION OF EDWARD              D
  16   individual; COMEDYMX II~C. a              HELDMAN; MEMORANDUM                ~
       Nevada Corporation;COM~DYN~X,
  1~   a Delaware Limited Liability
       Company,
  1g                           Defendants.
  19
       RELATED COUNTER-CLAIMS
  20

   1        Defendant EDWARD HELDMAN III hereby submits this Application for an
  22 Order Continuing Plaintiff's Motion for Sanctions,from March 3,2025 to a date five
  23 (5) weeks after the Court's Order on the pending Defendant's motions for judgment
 24 on the pleadings, for a more definite statement, to reconsider pre-Bankruptcy
 25 Settlement discovery and sanctions orders ["Sanctions Motions"], and/or for stay of
 26 proceedings pending completion of Bankruptcy Settlement process, set for hearing

 27 March 3,2025 ["Defense Motions"]; for an Order Continuing Plaintiff's Motion for
  28 to Compel Production of defense attorney records ["Privilege Motions"], from
                              APPLICATION TO CONTINUE AND/OR EXTEND
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       February 24, 2025 to a date five (5) weeks after the Court's Order on the Defense
   2 II Motions.

   3          Alternatively, Defendant seeks an Order Extending the time to respond
   4   to the Sanctions Motions from February 10, 2025 to March 10, 2025.
   5          These applications are made on grounds that the granting of any or all parts)
   6   ofthe Defense Motions would per se render both sets ofPlaintiff's as moot or thereby
   7   denied; and the scope and consequences of the Sanctions Motions are so great and
   8   severe that Defendant needs additional time to respond:
   9                  1. Plaintiff's counsel is now also asserting the continued vitality and
  10   enforceability ofpre-Bankruptcy Settlement orders in 2022, involving enforcement
  11   of discovery and discovery orders when liability and damages claims against ALL
  12   defendants were still in issue, and the remedial orders were premised on the realities
  13   and status of the case and claims at that time; this is obviously no longer the case.
  14                  2. Plaintiffcounsel is also engaging in new discovery from social
  15   media entities, including new third party subpoenas on social media companies to
  16   gain personal information on Heldman, and on Defendants' former pre-bankruptcy
  17   counsel which is now escalated to a motion, and threatening new contempt motions,
  18   again all premised on the dated and no longer applicable pre-Bankruptcy Settlement
  19   2022 orders.
 20                   3. In summary, these discovery, sanctions and contempt orders were
 21    premised on needs in connection with litigating the liability and damages claims
 22    against the CMX companies, which are now settled, obviating the needs.
 23                   4. It is undisputed that Defendant Heldman was the sole and complete
 24    controller of all of the company business, conduct and actions, again obviating any
 25    of those needs.
 26                   5. Given the Bankruptcy Settlement with the CMX companies, the
 27    material changed circumstances involving all Defendants as discussed above and
 28    below, and in the absence of any damages beyond same, there is no current and
                                APPLICATION TO CONTINUE ANDiOR EXTEND
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          remaining legal or factual basis or justification for the sweeping and intrusive
         ~ discovery demands which were the basis for the orders when all damages claims were
          still in issue.
                            6. All ofthe orders were necessarily remedial in nature, designed only
    5    ~ to effect litigation requirements at that time, almost all of which now longer exist.
    ~~                      7. The Extension Motion is based on the scope and consequences ofthe
         ~ Sanctions Motions, which are so great and severe that Defendant in any event needs
    R     additional time to respond
   z                               REQUEST FOR JUDICIAL NOTICE
  10                                AND INCORPORATION HEREIN
  11              Defendant also requests judicial notice of the Defense Motions for both the
  12      Sanctions Motions, and the opposition filed to the Privilege Motion; and for this
  13      application. Both of those sets of documents are incorporated herein by this
  14      reference.
  15                                     PLAINTIFF'S POSITION
  1 F~           Plaintiff's counsel has threatened to seek sanctions for the Defense Motions,
  17     and sent a special additional e-mail notice ofthe current due date for filing opposition
  1R     to the Sanctions Motions. Hence, his opposition is presumed.
  19     Dated: February 10, 2025
  ?~                                             war     e man      - n ro er
  ~~                         DECLARATION OF EDWARD HELDMAN III
  22              1. I am Defendant Edward Heldman III, appearing in Pro Per.
  23             2. Hereby submit this Application for an Order Continuing Plaintiff's Motion
  24     for Sanctions,from March 3,2025 to a date five(5)weeks after the Court's Order on
  25     the pending Defendant's motions for judgment on the pleadings, for a more definite
  26     statement, to reconsider pre-Bankruptcy Settlement discovery and sanctions orders
  27     ["Sanctions Motions"], and/or for stay of proceedings pending completion of
  ~h     Bankruptcy Settlement process,set for hearing March 3,2025 ["Defense Motions"];
                                     APPLICATION TO CONTINUE AND/OR EXTEND
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       1    for an Order Continuing Plaintiff's Motion for to Compel Production of defense
            attorney records ["Privilege Motions"], from February 24, 2025 to a date eve (5)
            weeks after the Court's Order on the Defense Motions' or, alternatively an Order
   4        Extending the time to respond to the Sanctions Motions from February 10, 2025 to
            March 10, 2025.
   ~~                3. The granting of any or all parts) of the Defense Motions would per se
           ~ render both sets of Plaintiff's as moot or thereby denied.
                     4. Plaintiff's counsel is now also asserting the continued vitality and
            enforceability ofpre-Bankruptcy Settlement orders in 2022,involving enforcement
  10        of discovery and discovery orders when liability and damages claims against ALL
  11        defendants were still in issue, and the remedial orders were premised on the realities
  12       and status of the case and claims at that time; this is obviously no longer the case.
  13                 5. Plaintiffcounsel is also engaging in new discovery from social media
  14       entities, including new third party subpoenas on social media companies to gain
  15       personal information on Heldman,and on Defendants'former pre-bankruptcy counsel
  16       which is now escalated to a motion,and threatening new contempt motions,again all
  17       premised on the dated and no longer applicable pre-Bankruptcy Settlement 2022
  18       orders.
  19               6. In summary,these discovery,sanctions and contempt orders were premised
 20        on needs in connection with litigating the liability and damages claims against the
 21        CMX companies, which are now settled, obviating the needs.
 22               7. It is undisputed that Defendant Heldman was the sole and complete
 23        controller of all of the company business, conduct and actions, again obviating any
 24        ofthose needs.
 25               8. Given the Bankruptcy Settlement with the CMX companies, the material
 2~~       changed circumstances involving all Defendants as discussed above and below, and
 ~~        in the absence of any damages beyond same, there is no current and remaining legal


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      1    or factual basis or justification for the sweeping and intrusive discovery demands
          ~ which were the basis for the orders when all damages claims were still in issue.
                  9. All of the orders were necessarily remedial in nature, designed only to
          ~ effect litigation requirements at that time, almost all of which now longer exist.
                  10. The scope and consequences ofthe Sanctions Motions are so great and
   f~ ~ severe that I need additional time to respond.
                                 REQUEST FOR JUDICIAL NOTICE
   K                              AND INCORPORATION HEREIN
   9.             1 1. I also request judicial notice of the Defense Motions for both the
  10      Sanctions Motions, and the opposition filed to the Privilege Motion; and for this
  11      application.
  12              1 2. Both ofthose sets ofdocuments are incorporated herein by this reference.
  13                                   PLAINTIFF'S POSITION
  14              13. Plaintiff's counsel has threatened to seek sanctions for the Defense
  15      Motions, and sent a special additional e-mail notice ofthe current due date for filing
  16      opposition to the Sanctions Motions.
  17              14. Hence, his opposition is presumed.
  18              I declare under penalty ofperjury under the laws ofthe State ofCalifornia that
  19      the above is true and correct. Executed on February 10, 2025, at Sun City, Arizona.
  20

 21                                                Edward Heldman III
 22
                                           MEMORANDUM
 23
                 Under Local Rule 7.18: "A motion for reconsideration of an Order on any
 24
          motion or application maybe made only on the grounds of...(b)the emergence of
 25
          new material facts ...occurring after the Order was entered, ..." Pyramid Lake
 26
          Paiute Tribe oflndians v. Hodel, 882 F.2d 364,369 n. 5(9`h Cir.1989). A court may
 27
          also reconsider pursuant to Federal Rule of Civil Procedure 59(e) to address clear
 28
          error or an order which is "manifestly unjust" or where orders are inconsistent." Sec'
                                   APPLICATION TO CONTINUE AND/OR EXTEND
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         Harris v. Rand,682 F.3d 846, 849, 852 (9`h Cir. 2012). A major change in the facts
        ~ and circumstances have occurred with the Bankruptcy Settlement which awards more
         damages than claimed prior to bankruptcy.
               Prior orders herein are governed by the doctrine ofthe"law ofthe case" which
        and the impact ofthe doctrine varies ifthere is new or different evidence,such as the
   ~~   occurrence of the Bankruptcy Settlement and complete resolution of all claims
        involving the CMX entities. See Stacy v. Colvin, 825 F.3d 563,         (9th Cir. 2016);
        Disimone v. Browner, 121 F.3d 1262, 1266 (9t'' Cir. 1997). The Court must consider
   9    whether other changed circumstances exist or a manifest injustice would otherwise
  to    result. Thomas v. Bible, 983 F.2d 152, 155 (9`h Cir. 1993). A major change in the
  11    facts and circumstances have occurred with the Bankruptcy Settlement which awards
  12    more damages than claimed prior to bankruptcy.
  13           This Court "may take judicial notice of undisputed matters of public record,
  14 Lee v. City ofLos Angeles,250 F.3d 668,689(9th Cir.2001),including documents on

  l~    file in federal or state courts. See Bennett v. Medtronic, Inc., 285 F.3d 801, 803 n. 2
  1(~ (9`h Cir.2002)." Harris v. Cozcnty of Orange, 682 F.3d 1126, 1132 (9``' Cir. 2012).

  17    This includes records of and events in the bankruptcy courts.
  18                                      CONCLUSION
  19           Defendant Heldman therefor requests entry of one or more of the alternative
  ~~ orders sought.
 21     Dated: February 10, 2025                       Respectfully submitted,
 22

 23                                                    Edward eldman III, In Pro Per
 24

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      l                                  PROOF OF SERVICE
           STATE OF ARIZONA
                                                     SS
           COUNTY OF MARICOPA
                  I,the undersigned,certify that I am a citizen ofthe United States, over the age
           of 18 years, residing in the County of Maricopa, State of Arizona.
      ~~          On February 10, 2025, I caused to be served a true copy of
      7
                  APPLICATION FOR ORDER CONTINUING MOTIONS FOR
      x           SANCTIONS AND RELATED MOTION TO COMPEL;DECLARATION
                  OF EDWARD HELDMAN; MEMORANDUM;[PROPOSED]ORDER
      9

  10 ~ on the Plaintiff by e-mail, whose address is:

  11
     Milord A. Keshishian
  12
     Milord Law Group,PC
     333 S. Hope Street, Suite 4025
  13
     Los An eIes, CA 90071
     milord~a milordlaw.com
  14
                 I declare under penalty ofperjury that the above is true and correct. Executed
  ~~
           on February 10, 2025, at Sun City, Arizona.
  16

  l7

  l                                               Edwa d Heldman III - In Pro Per
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                                  APPLICATION TO CONTINUE AND/OR EXTEND
